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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


ADAM JOSE VALDEZ                                     §
                                                     §
VS.                                                  §         ACTION NO. 4:10-CV-439-Y
                                                     §
PENTAGROUP FINANCIAL, LLC.                           §

      ORDER PARTIALLY GRANTING AMENDED MOTION FOR FEES AND COSTS

        Pending before the Court is Plaintiff's Amended Motion for

Attorney's Fees and Costs (doc. 79).                           After review of the motion,

the related briefs, the evidence highlighted therein, and the

applicable law, the Court concludes that the motion should be

partially granted.

        Plaintiff filed this suit in June 2010 under the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq., contending that

Defendant violated the act when attempting to collect a $3200 debt

Plaintiff allegedly owed to Toyota.                              Specifically, Plaintiff's

complaint alleged that Defendant initially contacted him without

identifying that it was attempting to collect a debt and that

Defendant contacted him once at 7:15 a.m.1                            Plaintiff's complaint
sought statutory damages in the amount of $1,000 plus costs and

reasonable attorneys' fees. Approximately a year and a half later,

on the date this case was set for trial, the parties reached a

settlement whereby Plaintiff received $1,000 from Defendant and the

issue of attorney's fees and costs would be submitted to the Court.

Plaintiff now seeks an award of $30,547.50 in attorney's fees and

      1
        Plaintiff ultimately abandoned his claim regarding the alleged 7:15 a.m.
phone call. (Pl.'s Summ. J. Resp. Br. [doc. 39] 12.)
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costs.

        Defendant spends a good portion of its response brief contesting

whether Plaintiff is a prevailing party under the FDCPA so as to

justify an award of fees and costs.                         One is a prevailing party for

purposes of an award of attorney's fees and costs if he "'succeed[s]

on any significant issue in litigation which achieves some of the

benefit the part[y] sought in bringing suit.'" Hensley v. Eckerhart,

461 U.S. 424, 433 (1983) (quoting Nadeau v. Helgemoe, 581 F.2d 275,

278-79 (1st Cir. 1978)).                  The FDCPA makes a debt collector who has

failed to comply with its terms liable to the plaintiff for actual

damages plus any additional damages the Court may allow, not to exceed

$1000.       See 15 U.S.C. § 1692k(a).                   Inasmuch as Plaintiff recovered

$1000 from Defendant--the maximum amount of additional damages

permitted under the FDCPA and the entirety of damages sought in his

complaint--the            Court       concludes         that      the     parties'   settlement

sufficiently altered "the legal relationship of the parties in a

manner which Congress sought to promote in the fee statute," so as

to support an award of fees and costs.                           Tex. State Teachers Assoc.

v. Garland Indep. Sch. Dist., 489 U.S. 782, 792-93 (1989) (interpret-

ing 42 U.S.C. § 1988); see also Farrar v. Hobby, 506 U.S. 103, 111,

114 (1992) (holding that "to qualify as a prevailing party . . . [t]he

plaintiff must obtain an enforceable judgment against the defendant

from who fees are sought . . . or comparable relief through a consent

decree or settlement," and "the prevailing party inquiry does not

turn on the magnitude of the relief obtained"); Associated Builders

v. Contractors of La., 919 F.2d 374, 377-78 (5th Cir. 1990) (noting

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that a "plaintiff may 'prevail' in a case that is settled").

        The fact that Plaintiff is a prevailing party does not, however,

mean that he is entitled to the entirety of the fees and costs he

seeks. Instead, this Court must ascertain the amount of Plaintiff's

reasonable fees.               See 15 U.S.C. § 1692k(a)(3) (providing that a

successful FDCPA plaintiff may recover "the costs of the action,

together with a reasonable attorney's fee as determined by the

court").        To do this, this Court must use the lodestar method:

        This Circuit utilizes the "lodestar method" to calculate
        attorneys' fees.     Initially, the district court must
        determine the reasonable number of hours expended on the
        litigation and the reasonable hourly rate of the partici-
        pating lawyer. The lodestar is then computed by multiply-
        ing the number of hours reasonably expended by the
        reasonable hourly rate. The district court may then adjust
        the lodestar upward or downward depending on the respective
        weights of the twelve factors set forth in Johnson v.
        Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th
        Cir. 1974).

Forbush v. J.C. Penney Co., 98 F.3d 817, 821 (5th Cir. 1996).                               The

Johnson factors include:

        (1)     the time and labor required;

        (2)     the novelty and difficulty of the questions;

        (3)     the skill requisite to perform the legal service
                properly;

        (4)     the preclusion of other employment by the
                attorney due to acceptance of the case;

        (5)     the customary fee;

        (6)     whether the fee is fixed or contingent;

        (7)     time limitations imposed by the client or the circum-
                stances;

        (8)     the amount involved and the results obtained;


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        (9)     the experience, reputation, and ability of the attorneys;

        (10) the "undesirability" of the case;

        (11) the nature and length of the professional relationship with
             the client;

        (12) awards in similar cases.

See Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714, 717-19 (5th

Cir. 1974). Several of these factors are, however "subsumed in the

initial lodestar calculation and should not be double counted."2

Migis v. Pearle Vision, Inc., 135 F.3d 1041, 1047 (5th Cir. 1998).

Plaintiff bears the burden of substantiating both the requested hours

and the hourly rate.                See Hensley, 461 U.S. at 437.

        Plaintiff's motion requests that attorney's fees be awarded as

follows:

        Scott Cohen                      $405/hour        for   2.0 hours = $810
        Peter Cozmyk                     $285/hour        for   6 hours = $1710
        Adam Hill                        $255/hour        for   70 hours = $17850
        Kimberly Lucas                   $255/hour        for   3.5 hours = $892.50
        Alicia Mandolini                 $255/hour        for   23.5 hours = $5992.50
        Matthew Slodowy                  $225/hour        for   1.4 hours = $357
        Paralegals                       $125/hour        for   20.5 hours = $2562.50

(Pl.'s Mot [doc. 79] 9; Pl.'s App. [doc. 80] 1.) The Court concludes

that all rates are reasonable based upon the attorney's years of

experience and comparable rates awarded in this area.3                              See Pl.'s

App. (doc. 80) 28 (declaration of local counsel in support of

reasonableness of hourly rates), 54 (reflecting hourly rates for



      2
        Indeed, the parties only appear to address the first, second, fifth,
eight, ninth, and eleventh factors, and they do so in the context of assessing
the reasonableness of hours requested by Plaintiff. As a result, the Court has
done so as well.
      3
        All rates seem to be on the high end, but the Court does not believe them
to be unreasonably so.
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consumer-law attorneys in Texas); Merrick v. Scott, No. 3:10-CV-2172-

D, 2011 WL 1938188, *9 (N.D. Tex. May 20, 2011) ("$290 per hour is

a reasonable rate for a sixth-year associate practicing consumer law

in this community") (Fitzwater, J.); Brown v. Phoenix Recovery Group,

No. 3:09-CV-1319-D, 2009 WL 4907302, *2 (N.D. Tex. Dec. 21, 2009)

(Fitzwater, J.) (concluding that rates ranging from $175 to $265 per

hour were reasonable based upon the attorneys' respective levels of

experience and the rates prevalent in the Northern District of Texas);

Purdie v. Ace Cash Express, Inc., No. Civ. A. 3:01-CV-1754-L, 2003

WL 22976611, *9 (N.D. Tex. Dec. 11, 2003) (approving hourly rates

of $75 to $125 per hour for paralegals).

        It is more difficult, however, to ascertain the reasonableness

of the hours that the attorneys for Plaintiff spent on this fairly

simple case.          Plaintiff requests compensation for almost 127 hours

of attorney and paralegal time.                           To prove the amount of hours

reasonably spent on a case, a fee applicant is required to submit

meticulous, contemporaneous time records that reveal, for each lawyer

for whom fees are sought, all hours for which compensation is

requested and how those hours were allotted to specific tasks." Case

v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1250 (10th Cir. 1998).

The Court concludes that Plaintiff has submitted sufficiently detailed

time records.

        Nevertheless, it is unclear from Plaintiff's supporting evidence

whether counsel exercised "billing judgment," which consists of

"winnowing the hours actually expended down to the hours reasonably

expended."         Case, 157 F.3d at 1250; Walker v. U.S. Dep't of Housing

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and Urban Dev., 99 F.3d 761, 769 (5th Cir. 1996) ("billing judgment

. . . refers to the usual practice of law firms in writing off

unproductive, excessive, or redundant hours"). None of the attorneys

indicate in their declarations or otherwise that they have reviewed

the time records and deleted unproductive, excessive, or redundant

hours.

        "The proper remedy when there is no evidence of billing judgment

is to reduce the hours awarded by a percentage intended to substitute

for the exercise of billing judgment."                          Walker, 99 F.3d at 770; see

also Mares v. Credit Bureau of Raton, 801 F.2d 1197, 1202-03 ("[t]here

is no requirement . . . that district courts identify and justify

each disallowed hour.                 Nor is there any requirement that district

courts announce what hours are permitted for each legal task. . .

. A general reduction of hours claimed in order to achieve what the

court determines to be a reasonable number is not an erroneous method,

so long as there is sufficient reason for its use.").                            As a result,

fifteen percent will be deducted from each attorney's hours due to

Plaintiff's          failure       to    demonstrate           that   billing   judgment    was

exercised.          See Walker, 99 F.3d at 770 (concluding that fifteen

percent was an appropriate reduction when there was no evidence

presented reflecting the exercise of billing judgment).

        Additionally, "[h]ours that an attorney would not properly bill

to his or her client cannot reasonably be billed to the adverse party,

making certain time presumptively unreasonable." Case, 157 F.3d at

1250. Several entries include time spent reviewing the file and this

Court's local rules and standing orders, something with which counsel

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should have already been familiar. Cf. Case, 157 F.3d at 1253 ("time

spent reading background material designed to familiarize the attorney

with the area of the law would normally be absorbed into a firm's

overhead"). Other entries include time spent by different attorneys

"opening the file in database," "preparing Amicus Precedent to track

case," "diarying events," and "book[ing] flights," (Pl.'s App. [doc.

80] 4-14), all of which could have been performed by secretarial

staff.       See Eiden v. Thrifty Payless, Inc., 407 F. Supp. 2d 1165,

1171 (E.D. Cal. 2005) ("the salaries and benefits paid to support

staff are a part of the usual and ordinary expenses of an attorney

in his practice, and are properly classified as overhead"); Hagan

v. MRS Assocs., Inc., No. Civ. A. 99-3749, 2001 WL 531119, *9 (E.D.

La. May 15, 2001) ("Normally, clerical or secretarial costs are part

of an attorney's office overhead and are reflected in the billing

rate."). Because most of these time entries are mixed in with other

tasks such that it is impossible to determine the exact amount of

time spent on these matters, the Court concludes that another ten

percent reduction in hours is appropriate.

        Plaintiff also seeks recovery for hours spent by no less than

six attorneys, although one attorney easily could have handled all

matters herein.            Indeed, several of the entries include time spent

in interoffice conferences, emailing other counsel, and for differing

attorneys to review the file. Because these tasks are again combined

in the time records with other recoverable time, the Court concludes

that a ten percent reduction in hours is appropriate to compensate

for time spent getting all six attorneys up to speed on the case and

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to account for duplicated efforts. See Schlacher v. Law Offices of

Phillip J. Rotche & Assocs., 574 F.3d 852, 855, 858 (affirming

district court's reduction in hours sought by four attorneys in FDCPA

case "because their work necessarily overlapped and one competent

attorney would have sufficed").

        Defendant also objects to Plaintiff's attempt to recover for

time spent on its application for attorney's fees.                                   Defendant

erroneously contends that such time is not recoverable.                               See Cruz

v. Hauck, 762 F.2d 1230, 1233 (5th Cir. 1985) ("It is settled that

a prevailing plaintiff is entitled to attorney's fees for the effort

entailed in litigating a fee claim and securing compensation").

Defendant also complains that Plaintiff seeks 2.3 hours for time he

expects his counsel will spend reviewing Defendant's response to the

motion for fees and preparing a reply.                                Though the Court would

generally be disinclined to allow "anticipated" time, given the length

of Defendant's response brief and appendix and the fact that Plaintiff

did file a reply, the Court finds 2.3 hours for that effort imminently

reasonable.

        Finally, Defendant points out that "'the most critical factor'"

in determining the reasonableness of the award "'is the degree of

success obtained.'"                 Farrar v. Hobby, 506 U.S. 103, 114 (1992)

(quoting Hensley v. Eckerhart, 461 U.S. 424, 436 (1983)). Defendant

then suggests that because Plaintiff's recovery is for a "technical

violation" of the FDCPA for which he received "nominal damages," his

fees and costs should be substantially reduced if not disallowed.

(Def.'s Resp. [doc. 83] 18-20.)                         Given the fact that          Plaintiff

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survived Defendant's summary-judgment motion and ultimately recovered

the maximum amount of statutory damages allowed under the FDCPA, the

Court is disinclined to agree with Defendant's characterization of

his recovery as either technical or nominal.4

        Nevertheless, the Court is mindful of the fact that Plaintiff

sought no actual damages as a result of Defendant's actions, and that

his claims were largely based upon alleged deficiencies in Defendant's

initial contact with him. During the course of this litigation, the

Court saw no evidence tending to suggest that Defendant was

unnecessarily harassing Plaintiff in attempting to collect the Toyota

debt. Defendant contends that in actuality this case was only about

racking up attorney's fees.                     Judging by the nature of Plaintiff's

claims, the apparently sparse contact between Plaintiff and Defendant

before suit was filed, and how difficult it was for Defendant's

general counsel, Andrew J. Marancik, to get a response from

Plaintiff's lead counsel, Peter J. Cozmyk, to his emails sent

immediately after suit was filed requesting information about

Plaintiff's claims and suggesting that the parties engage in early

settlement discussions, the Court is inclined to agree.

        Indeed, the Court wonders whether this case might not have

settled soon after it was filed had Cozmyk personally attempted to


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       The Court denied Defendant's second summary-judgment motion as having been
filed in contravention of local civil rule 56.2(b), which permits only one
summary-judgment motion. The Court further noted, however, that had it reached
the merits of the motion, at least a portion of Plaintiff's claims would have
survived summary judgment due to Defendant's failure to demonstrate that there
were no material issues of fact regarding whether "Ms. Matthews" failed to
identify herself when she first attempted to contact Plaintiff by telephone.
(Order Denying Motion for Summary Judgment and Dismissing Withdrawn Claim With
Prejudice [doc. 55] 2-3.)
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negotiate in good faith as requested by Marancik. Instead, it appears

that Cozmyk ignored Marancik's repeated emails and voice mails seeking

an early resolution to the matter, delayed responding to the $1750

settlement offer Marancik tendered three weeks after suit was filed,

ultimately had another attorney in his firm relay a $3750 counteroffer

to Marancik, and then continued to ignore Defendant's repeated

requests to negotiate an amicable resolution in a timely fashion.

(Def.'s App. [doc. 84] 21-38.)                          As a result of this delay and

inattention to repeated efforts to settle a fairly innocuous and

relatively easy legal claims, the Court will reduce Plaintiff's hours

by another twenty-five percent. See Lanasa v. City of New Orleans,

619 F. Supp. 39, 51 (D.C. La. 1985) (reducing attorney-fee request

by twenty-five percent in part because "a settlement could have been

reached much earlier"); cf. In re Equity Funding Corp of Am., 438

F. Supp. 1303, 1328 (D.C. Cal. 1977) ("a Court must not hesitate to

reduce the lodestar computed when the result obtained is the product

of an unreasonably extended proceeding").

        Consequently, a sixty percent reduction in the requested hours

is appropriate.            Thus, Plaintiff shall have and recover attorney's

fees from Defendant in the total amount of $12,053.00 as follows:

        Scott Cohen                      $405    for    .8 hours = $ 324.00
        Peter Cozmyk                     $285    for    2.4 hours = $ 684.00
        Adam Hill                        $255    for    28 hours = $ 7,140.00
        Kimberly Lucas                   $255    for    1.4 hours = $ 357.00
        Alicia Mandolini                 $255    for    9.4 hours = $ 2,397.00
        Matthew Slodowy                  $225    for    .56 hours = $ 126.00
        Paralegals                       $125    for    8.2 hours = $ 1,025.00




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Additionally, Plaintiff shall recover costs of $415, for a total fees-

and-costs recovery of $12,468.

        SIGNED April 2, 2012.


                                                          ____________________________
                                                          TERRY R. MEANS
                                                          UNITED STATES DISTRICT JUDGE




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